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                                          IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  TZIPORA SARAH KARIN EISINGER,                                                 :             CIVIL ACTION
  PhD.                                                                          :
              Plaintiff,                                                        :
                                                                                :
                                     v.                                         :             NO. 5:24CV397
                                                                                :
  THE TRUSTEES OF THE UNIVERSITY                                                :
  OF PENNSYLVANIA
             Defendants.
                       THIRD AMENDED CONFERENCE ORDER

       A settlement conference is RESCHEDULED to May 2, 2025, at 2:00 PM. before the Honorable
Craig M. Straw, United States Magistrate Judge, via Zoom.
            • Please notify the Court if settlement is not a real possibility.

                    •     The conference will not be held unless counsel has clients with full and complete
                          settlement authority physically present for the duration of the conference. Full and
                          complete authority means the party’s representative must possess authority consistent
                          with the most recent demand. 1

                    •     If the defendant does not intend to make a settlement offer, or intends to offer only a
                          nuisance value, defendant should arrange a telephone conference with chambers and
                          counsel for plaintiff.

                    •     If jointly requested by counsel, the judge is available for ex parte telephone conferences
                          with each side before the scheduled settlement conference. Please contact chambers to
                          arrange a pre-conference telephone call.

             Please complete the attached summary and email it with the case synopsis to
Mag_Judge_Straw@paed.uscourts.gov on or before April 25, 2025 and exchange them between
counsel. After receipt and review of the above summaries, the parties are to exchange updated settlement
positions and submit a joint letter setting forth updated positions on or before April 30, 2025 to
Mag_Judge_Straw@paed.uscourts.gov.

                                                                                BY THE COURT:

                                                                                   /s/ Craig M. Straw
                                                                                ________________________________
                                                                                CRAIG M. STRAW
                                                                                UNITED STATES MAGISTRATE JUDGE
Date:        March 5, 2025
Cc:          Counsel of record

             1 Parties include all persons, corporations or other business entities, and insurance companies with an interest in the case, and each entity with an interest
in the case must attend the conference. In the case of corporate or other business entities, the corporate official with ultimate settlement authority is required to attend.
Where an insurance company is involved, a representative with full and complete settlement authority is also required to attend.
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                       SETTLEMENT CONFERENCE SUMMARY

CAPTION: ___________________________________________________________
DISTRICT COURT JUDGE: __________________________________
TRIAL POOL DATE: __________________________                JURY / NONJURY (Circle One)


COUNSEL ATTENDING SETTLEMENT CONFERENCE:
Name:    ___________________________________________________________
Address: ___________________________________________________________
Phone:   ___________________________________________________________
Client:  ___________________________________________________________


CLIENT ATTENDING SETTLEMENT CONFERENCE:
Name of Individual with full and complete settlement authority who will be present at the
settlement conference (include company and position where applicable):
       __________________________________________________________________


MOTIONS PENDING:
    __________________________________________________________________
    __________________________________________________________________
    __________________________________________________________________


OTHER RELEVANT MATTERS:
    __________________________________________________________________
    __________________________________________________________________
    __________________________________________________________________


PRIOR DEMANDS/OFFERS (include demand/offer dates):

       _________________________________________________________________
       _________________________________________________________________


ATTACH SYNOPSIS OF CASE (The synopsis will include a candid discussion of the
submitting party’s factual and legal strengths and weaknesses in the case as well as an
offer/demand settlement proposal and IS STRICTLY LIMITED TO NO MORE THAN FIVE
(5) PAGES.)
